       Case 1:17-cv-00642-ALB-SMD Document 106 Filed 04/07/20 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

ANDRE D. FLAGG, #310705,                      )
                                              )
          Plaintiff,                          )
                                              )
  v.                                          )        CIVIL ACTION NO. 1:17-CV-642-ALB
                                              )
COMMANDER KEITH REED, et al.,                 )
                                              )
          Defendants.                         )

                                            ORDER

        Upon review of the notice filed by the defendants on April 6, 2020 (Doc. 105), it is

        ORDERED that:

        1. The parties are GRANTED an extension until April 16, 2020 to engage in good

faith discussions via any available means of communication in an effort to reach an

amicable resolution of the issues before this court.

        2. The parties are GRANTED an extension until April 20, 2020 to notify the court

whether they have reached a resolution in this case.

        Done this 7th day of April, 2020.




                                    /s/ Stephen M. Doyle
                                       UNITED STATES MAGISTRATE JUDGE
